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IN THE UNITED sTATEs DISTRICT coURT ~__ D.c_
FoR THE: wEsTERN DISTRICT oF TENNESSEE 05 JU
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UNITED sTATES OF AMERICA, §E§F!YT.§¢. mg ~,»;:;OUO
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Plaintiff, 1 £MNMS
vs. Cr. No. 04-20197-D/V
JosE MENDOZA.
Defendant.

 

OR.DER GR.ANTING MOTION TO BE PERMITTED TO TRAVEL
AND FOR TEMPOR.ARY RELEASE FROM ELECTRONIC MONI'I‘ORING

 

THIS CAUSE having come before this Court upon the petition of
defendant JOSE MENDOZA that he be permitted to travel to visit
family members prior from June 24, 2005, until June 28, 2005, and
that he be temporarily released from electronic monitoring to
permit such travel.

The Court having considered the record, finds the petition
well-taken, and GRANTS the motion.

The defendant is permitted to visit with family members in
Westlaco, Texas, prior to entry into the prison system, from June
24, 2005, through June 28, 2005. During that time, his electronic
monitoring shall be temporarily suspended; but he must advise the
pretrial office of his location, and otherwise remain in contact
with the pretrial office by any other means ordered by that office.

IT IS SO ORDERED.

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DATE

 

Thls document entered on the docket she tlrl p
with Rule 55 and{or 32(b} FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 144 in
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ENNESSEE

 

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

Memphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

L. Daniel JOhnsOn

JOHNSON COCKE & BRANDON
254 Court Ave.

Ste. 300

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

